Case 1:13-cv-02067-RGA Document 250 Filed 03/07/22 Page 1 of 2 PageID #: 17860




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 DRAGON INTELLECTUAL PROPERTY,                    )
 LLC,                                             )
                                                  )
                        Plaintiff,                )
                                                  )     Civil Action No. 13-2067-RGA
                v.                                )
                                                  )
 SIRIUS XM RADIO INC.,                            )
                                                  )
                        Defendant.                )


               ORDER AWARDING ATTORNEYS’ FEES AND EXPENSES

       As set forth in the November 8, 2021 Order (D.I. 231) adopting the August 16, 2021 Report

and Recommendation of Magistrate Judge Jennifer L. Hall (D.I. 223), the Court ORDERED

Plaintiff Dragon Intellectual Property, LLC (“Plaintiff”) to pay the reasonable attorneys’ fees

incurred by Defendant Sirius XM Radio Inc. (“Sirius XM”) in litigating this case in this Court

between December 20, 2013, and October 31, 2021. Sirius XM was to provide Plaintiff all

reasonable and necessary documentation to support the amount of fees incurred.

       On December 1, 2021, Sirius filed an Application for Attorneys’ Fees and Costs (D.I. 234),

and Sirius XM provided Plaintiff the documentation supporting all attorneys’ fees and expenses in

the amount of $1,862,415.53.

       On December 22, 2021, Plaintiff responded to Sirius XM”s Application stating that it

“makes no argument regarding the specific calculation of fees as set forth in Defendant’s

Application” and reserves all rights to appeal any orders and findings of the Court in this action,

including the award of any fees or costs (D.I. 246).
Case 1:13-cv-02067-RGA Document 250 Filed 03/07/22 Page 2 of 2 PageID #: 17861



       Pursuant to the Court’s February 2, 2022 Oral Order (D.I. 248), Sirius XM submits this

[Proposed] Order, which has been approved by Plaintiff as being consistent with the Court’s

February 2, 2022 Oral Order.

       IT IS THEREFORE ORDERED that Plaintiff shall submit payment to Sirius XM of

$1,862,415.53.




        3/7/2022
Date: ________________                              /s/ Richard G. Andrews
                                                  ________________________________
                                                  Honorable Richard G. Andrews
                                                  United States District Judge




                                             2
